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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLORADO

Civil Action No. 1:18-cv-02074-WYD-STV

MASTERP|ECE CAKESHOP lNCORPORATED,
a Colorado corporation; and
JACK PHlLLlPS,

P/aintiffs,
v.

AUBREY ELEN|S, Director of the Colorado Civil Rights Division, in
her official capacity;

ANTHONY ARAGON, as member of the Co|orado Civil Rights
Commission, in his official capacity;

M|GUEL “M|CHAEL” RENE EL|AS, as member of the Colorado
Civil Rights Commission, in his ochia| capacity;

CAROL FABR|Z|O, as member of the Colorado Civil Rights
Commission, in her official capacity;

CHARLES GARC|A, as member of the Co|orado Civil Rights
Commission, in his ofhcial capacity;

RlTA LEW|S, as member of the Colorado Civil Rights Commission,
in her official capacity;

JESSICA POCOCK, as member of the Colorado Civil Rights
Commission, in her official capacity;

AJAY MENON, as member of the Colorado Civil Rights
Commission, in his official capacity; and

CYNTH|A H. COFFMAN, Co|orado Attorney General, in her official
capacity,

Defendants.

 

SCHEDUL|NG ORDER

 

1. DATE OF CONFERENCE AND APPEARANCES OF COUNSEL
AND PRO SE PART|ES

Date of Conference: January 15, 2019.

 

 

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Appearing for Plaintiffs: James A. Campbe|l and Jacob P. Warner, Alliance
Defending Freedom, 15100 N. 90th Street, Scottsda|e, AZ 85260, 480-444-0020.

Appearing for Defendants: Assistant Solicitor Genera| Grant T. Sullivan, Senior
Assistant Attorney General Vincent E. Morscher, and Senior Assistant Attorney Genera|
Jacquelynn Rich Fredericks, Colorado Department of Law, 1300 Broadway, Denver, CO
80203.

2. STATEMENT OF JUR|SD|CT|ON

Plaintiffs: This case raises federal questions under the First and Fourteenth
Amendments to the United States Constitution and the Civil Rights Act of 1871, 42
U.S.C. § 1983. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343.

Defendants: Defendants maintain that this Court lacks subject matter jurisdiction
under Fed. R. Civ. P. 12(b)(1) as set forth in their motion to dismiss, ECF No. 64, but
recognize that the Court has denied those portions of their motion after accepting the
First Verihed Amended Complaint’s allegations as true. See ECF No. 94. Defendants
reserve their right to reassert these and other jurisdictional defenses based on
information obtained in discovery or at hearing or trial.

3. STATEMENT OF CLAIMS AND DEFENSES

Plaintiffs: Plaintiffs claim that Defendants have violated and continue to violate
their rights under the First and Fourteenth Amendments to the United States
Constitution. Defendants interpret the Colorado Anti-Discrimination Act, §§ 24-34-301 to
-804, C.R.S. (2018) (“CADA”), to (1) force Plaintiffs (but not others like them) to create
custom cakes expressing messages that violate their deepest beliefs and (2) ban

Plaintiffs from publishing speech explaining the messages that they will not express

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through their custom cakes and the religious reasons why. CADA’s publication bans
also contain vague and overbroad language that is facially unconstitutional. And
Defendants subject Plaintiffs to a biased and unfair administrative process. For these
reasons, portions of CADA and Defendants’ application of CADA to Plaintiffs violate
Plaintiffs’ rights_including their rights to free speech, free exercise of religion, clue
process, and equal protection-under the First and Fourteenth Amendments.
Defendants: Recognizing that this Court has ruled othenivise when partially
denying the motion to dismiss after accepting as true the allegations in the First Veritied
Amended Complaint, ECF No. 94, Defendants respectfully maintain that the Court lacks
subject matter jurisdiction under Rule 12(b)(1) for at least two reasons, First, there is an
ongoing civil enforcement proceeding by the Co|orado Civil Rights Commission
(collectively, the “Commission” or “Commissioners”) to decide a 2017 discrimination
charge alleging that Plaintiffs violated CADA. As a result, this Court must abstain from
exercising jurisdiction over Plaintiffs’ claims for equitable relief here based on the
doctrine articulated in Younger v. Harr/'s. Although the First Amended Veri&ed Complaint
contains mere allegations of bad faith on the part of the Defendants, Plaintiffs failed to
provide any actual evidence of bad faith on their part sufficient to establish the bad faith
exception to Younger abstention Additionally, the exceptional circumstances exception
to Younger abstention does not apply. Therefore, this Court must abstain from

considering and deciding any of Plaintiffs’ claims for equitable relief.

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Second, Plaintiffs’ claims for equitable relief against the Attorney General are
barred by Eleventh Amendment immunity due to the lack of any discretionary personal
participation in the civil enforcement action related to the 2017 discrimination chai'ge.1

Even if this Court possesses subject matter jurisdiction, Plaintiffs fail to state a
claim as a matter of law. Specifically, the Division Director and Commission’s
interpretation and enforcement of section 24-34-601(2)(a) of CADA, which prohibits
discrimination in places of public accommodation, comports with the First Amendment
and does not violate Plaintiffs’ free exercise rights under any as-applied theory, or their
free speech rights under any as-applied or facial theory. The Division Director and
Commission’s interpretation and enforcement of section 24-34-601(2)(a) and the
selection criteria for new Commissioners in section 24-34-303(1)(b)(l)-(l||) likewise
comport with the Fourteenth Amendment and do not violate Plaintiffs’ due process
rights under any as-applied or facial theory. Finally, the Division Director and
Commission’s interpretation and enforcement of section 24-34-601(2)(a) does not
violate Plaintiffs’ Fourteenth Amendment equal protection rights under any as-app|ied
theory.

4. UND|SPUTED FACTS

Given that the Court recently decided Defendants’ motion to dismiss and
Defendants have not yet answered the First Amended Veritied Complaint, the parties
have not yet agreed upon stipulated facts. The parties will explore stipulating to facts

after the Defendants have filed their answer.

 

1 This Court previously ruled that Defendants are immune from Plaintiffs’ claims for
damages and that the Eleventh Amendment bars claims against the Governor. ECF No.
94.

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5. COMPUTATION OF DAMAGES
Plaintiffs seek injunctive and declaratory relief to restore their constitutional
freedoms The Court dismissed Plaintiffs’ claims for monetary relief in its January 4,
2019 order ruling on Defendant’s Rule 12(b)(1) motion to dismiss.

6. REPORT OF PRECONFERENCE D|SCOVERY AND
MEET|NG UNDER FED. R. ClV. P. 26(f)

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a. Date of Rule 26(f) meeting.

The Rule 26(f) meeting occurred during emails exchanged on and before
January 8, 2019.
j b. Names of each participant and party he/she represented
James A. Campbel| on behalf of Plaintiffs. LeeAnn Morrill, Grant T. Sullivan,
j Vincent E. Morscher, and Jacquelynn Rich Fredericks on behalf of Defendants.
j c. Statement as to when Rule 26(a)(1) disclosures were made or will be
made.
j The Court stayed the Rule 26(a)(1) disclosures deadline in its November 20,
2018 minute order. ECF No. 79.
3 d. Proposed changes, if any, in timing or requirement of disclosures under

Fed. R. civ. P. 26(a)(1).
initial disclosures under Fed. R. Civ. P. 26(a)(1) will be exchanged by January

22, 2019.

e. Statement concerning any agreements to conduct informal discovery.

 

 

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None.

f. Statement concerning any other agreements or procedures to reduce
discovery and other litigation costs, including the use of a unified exhibit numbering
system.

None.

g. Statement as to whether the parties anticipate that their claims or
defenses will involve extensive electronically stored information, or that a substantial
amount of disclosure or discovery will involve information or records maintained in
electronic form.

Because the Court recently entered its order concerning Defendants’ motion to
dismiss under Fed. R. Civ. P. 12(b)(1), Defendants have not yet answered the
Complaint, and discovery has not commenced, the parties are uncertain whether
discovery will involve extensive electronically stored information. The parties agree to
preserve and maintain all electronic records, including emails and other electronic
documents, in their current form. The parties anticipate that any electronic records
produced in response to discovery requests will be saved on a CD or flash drive for
transmittal to opposing counsel.

h. Statement summarizing the parties’ discussions regarding the possibilities
for promptly settling or resolving the case.

The parties do not believe that a settlement conference or other form of

alternative dispute resolution will be productive at this time.

 

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7. CONSENT
All parties m [have] X [have not] consented to the exercise of jurisdiction
of a magistrate judge.
8. D|SCOVERY L|M|TAT|ONS
a. Modifications which any party proposes to the presumptive numbers of
depositions or interrogatories contained in the Federal Rules.

Each side will be limited to 10 depositions and 25 interrogatories.

b. Limitations which any party proposes on the length of depositions

None. Per Fed. R. Civ. P. 30(d)(1), each deposition will be limited to one (1) day

of seven (7) hours.

C- Limitations which any party proposes on the number of requests for

production and/or requests for admission.

Each side will be limited to 25 requests for production and 25 requests for admission
d. Other Planning or Discovery Orders.

Expedited Discovery: The parties position with respect to expedited discovery and other
limitations is set forth below. The Court adopts the following expedited discovery
procedure. Each side shall be permitted 5 expedited requests for production and 5
expedited interrogatories. These must be served by January 21, 2019, and will count
against the overall discovery limits Responses to the expedited requests are due by
February 5, 2019. Each side must disclose its witness list for the preliminary injunction

hearing by the earlier of February 11, 2019 or any date set by Judge Daniel. Each side

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will be permitted four expedited depositions, to be completed by February 28, 2019.

These expedited depositions will count against the overall discovery limits

 

Plaintiffs: During the December 18, 2018 hearing before Judge Daniel, he gave
Plaintiffs permission to file an amended motion for preliminary injunction, and they plan
to do that. Judge Danie| has asked the parties to propose a briefing and hearing
schedule in connection with that motion and to submit that proposal by January 11,
2019. Plaintiffs plan to propose that (1) they tile their renewed motion for preliminary
injunction by January 18, 2019, (2) Defendants file their response to that motion by
February 1, 2019, (3) Plaintiffs file their reply by February 8, 2019, and (4) an
evidentiary hearing on that motion, which is not expected to last longer than two (2)
days, be set for the week of February 25, 2019.

As contemplated at the December 18, 2018 hearing before Judge Daniel,
Plaintiffs ask that the Court allow expedited discovery before the hearing on the
amended motion for preliminary injunction. ln particular, Plaintiffs ask that the Court
allow both sides to designate and serve up to five (5) requests for production of
documents and five (5) interrogatories that must be responded to within Hfteen (15)
days of service. Plaintiffs also ask that the Court allow each side to depose any
individual that the other side intends to call as a witness at the evidentiary hearing on
Plaintiffs’ amended motion for preliminary injunction and up to three (3) other

individuals and that all such depositions occur at least ten (10) days before that

hearing. While these requests for production of documents, interrogatories and

 

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depositions would count against any discovery limits set by the Court, they do not
restrict the parties’ ability to simultaneously conduct other discovery

Plaintiffs disagree with the limitations on the scope of expedited discovery that
Defendants propose below. Before any of them are imposed, Plaintiffs request the
opportunity to explain to the Court why they are improper and prejudicial.

Defendants: Regarding the briefing schedule on Plaintiffs’ amended motion for
preliminary injunction, Defendants propose that (1) Plaintiffs file their renewed motion
for preliminary injunction by January 18, 2019, (2) Defendants file their response to that
motion by February 8, 2019, (3) Plaintiffs file their reply by February 15l 2019, and (4)
an evidentiary hearing on that motion, which is not expected to last longer than two (2)
days, be set for the week of March 11, 2019.

Defendants object to limited expedited discovery in the absence of a proper
motion under Fed. R. Civ. P. 26(d), setting forth the reasons and need for such
discovery. Defendants reserve the right to respond to any such motionl Alternatively,
the Court should require Plaintiffs to establish at a motions hearing their need for
expedited limited discovery outside of the presumptive limits and sequence of the Rules
of Civil Procedure, and to take oral argument from both sides

Without waiving said objection, in the event the Court is inclined to grant limited
expedited dlscovery, Defendants propose that any limited expedited discovery be
limited, reciprocal, and bilaterally conducted. Defendants propose that the Court allow
both sides to designate and serve up to five (5) requests for production of documents,

inclusive of all sub-parts, that must be responded to within twenty-one (21) days of

service. Defendants propose that no interrogatories requests of admission, or

 

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depositions on written questions be permitted during the limited expedited discovery
period, if any.

Regarding depositions during the limited expedited discovery window that the
Court may allow, Defendants ask that the Court allow each side to depose up to four (4)
deponents inclusive of any Fed. R. Civ. P. 30(b)(6) depositions of Masterpiece
Cakeshop, lnc., the Co|orado Civil Rights Division (“Division”), or the Commission.
Defendants request that any Fed. R. Civ. P. 30(b)(6) depositions of the Division or
Commission be appropriately limited to the Division and Commission’s policies
procedures and authentication of documents for each; Plaintiffs may not inquire about
the mental impressions or processes of any individual Commissioner or Division

employee as to any past, present, or future charges or regarding any of their personal

 

backgrounds or subjective beliefs about religion, gender, sexual orientation, gender
transitions, or related topics Re|atedly, Defendants request that Plaintiffs be prohibited
from deposing the Division Director or any Commissioner individually; if they are
deposed as designees under Fed. R. Civ. P. 30(b)(6), then the above limitations should
apply.

Defendants request that the Attorney General not be subject to deposition,
although Plaintiffs may conduct a Fed. R. Civ. P. 30(b)(6) deposition regarding the
procedures for assigning counsel for the administrative complaint, provided the
designee(s) will not be required to divulge confidential attorney work product, attorney-
client privileged material, or their mental impressions as prosecutors assigned to any
case. Defendants propose that depositions be completed at least fourteen (14) days

before the expected evidentiary hearing on Plaintiffs’ amended motion for preliminary

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injunction, Depending on who Plaintiffs notice for deposition, Defendants anticipate that
it may be necessary to brief or argue procedural and substantive issues on an
expedited basis to complete the contemplated expedited discovery schedule before the
hearing on Plaintiffs’ amended motion for preliminary injunction, and it may be

w necessary to hold the depositions at the federal courthouse in Denver when the Court is
available to resolve objections

Defendants propose that, although the requests for production of documents and
depositions conducted during the expedited discovery period should count against the
overall discovery limits set by the Court, no other discovery should be allowed to
commence until after the preliminary injunction hearing is completed and the parties’
initial disclosures have been made.

Consistent with Fed. R. Civ. P. 1’s mandate that the Rules “be construed,
administered, and employed by the court and the parties to secure [a] just, speedy, and
inexpensive determination,” Defendants request that the discovery sought during the
expedited discovery period, to the extent any is allowed, be appropriately tailored and
limited to information relevant to this case on|y. Accordingly, Defendants request that
the Court limit Plaintiffs to seeking discovery from Defendants only as it relates to
events occurring after the June 4, 2018 announcement of Masterpiece Cakeshop, Ltd.
v. Co/o. Civil Rights Comm’n, 138 S. Ct. 1719 (2018) (“Masterpiece l"), in which the
Court found that the Commission had not acted neutrally towards Plaintiffs in handling a
separate charge. Events occurring pre-June 4, 2018, before the Commission had the

benefit of Masterpiece /, are not relevant to the claims and defenses at issue here.

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Finally, recognizing that Magistrate Judge Varholak previously ruled that the
Colorado Open Records Act, §§ 27-72-200.1, et seq., C.R.S. (2018) (“CORA”) should
remain available to Plaintiffs during this case and that Defendants have filed an
objection with the district court judge, Defendants respectfully request that the Court
enter an order (1) prohibiting Plaintiffs their counsel, and all others working in concert
with Plaintiffs and/or their counsel from utilizing the CORA to obtain records related to
any facts claims or defenses at issue in this case from the Defendants and any other
agency, department, ofncial, employee, or agent of the State of Colorado during the
pendency of Case No. 1:18-cv-02074; and (2) stating that Defendants are not required
to respond to any CORA request for records related to any facts claims or defenses at
issue in Case No. 1:18-cv-02074 received from Plaintiffs their counsel of record, or any
others working in concert with Plaintiffs and/or their counsel of record on or after August
14, 2018, including without limitation the requests dated August 29, August 30, and
November 21, 2018, that were issued by Barry K. Arrington of the Arrington Law Firm.
Because discovery is now progressing fonivard, circumstances have changed that now
render it appropriate for the Court to manage the parties’ exchange of information

through discovery only, not CORA.

9. CASE PLAN AND SCHEDULE
a. Deadline for Joinder of Parties and Amendment of Pleadings:
March 15, 2019,
b. Discovery Cut-off:

June 24, 2019

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c. Dispositive Motion Deadline:
July 29, 2019
d. Expert Witness Disclosure:

1. The parties shall identify anticipated fields of expert testimony, if

any.

None.

2. Limitations which the parties propose on the use or number of
expert witnesses

The parties do not expect to need expert witnesses Should the need
arise, the parties propose that no more than one (1) expert witness per side be
allowed.

3. if needed, the parties shall designate all experts and provide
opposing counsel and any pro se parties with all information specified in Fed. R.
Civ. P. 26(a)(2) on or before ninety-one (91) days before the discovery cut-off
date.

4. if needed, the parties shall designate all rebuttal experts and

provide opposing counsel and any pro se party with all information specified in

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Fed. R. Civ. P. 26(a)(2) on or before thirty-five (35) days before the discovery

cut-off date.

e.

identification of Persons to Be Deposed:

Plaintiffs: Plaintiffs anticipate that depositions may be needed of the following

witnesses:

Aubrey Elenis

Anthony Aragon

Miguel “lVlichael” Rene Elias

Carol Fabrizio

Charles Garcia

Rita Lewis

Jessica Pocock

Ajay Menon

A Rule 30(b)(6) deposition of the Colorado Civil Rights Division

A Rule 30(b)(6) deposition of the Colorado Civil Rights Commission

Any other individuals particularly employees representatives or agents of
the Division or Commission, identified during discovery as having relevant
information

Any additional witness identified during discovery or designated to testify

at trial

Defendants: Defendants anticipate that depositions may be needed of the

following witnesses:

Aubrey Elenis and/or a Rule 30(b)(6) deposition of the Division

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o Anthony Aragon and/or a Rule 30(b)(6) deposition of the Commission
o Jack Phillips
o A Rule 30(b)(6) deposition of Masterpiece Cakeshop incorporated
. Debi Phi||ips
o Lisa Eldfrick
¢ Autumn Scardina
o Any additional lay or expert witness identified during discovery or
designated to testify at trial
f. Deadline for interrogatories:
The parties propose that interrogatories must be served no later than 35 days
before the discovery cut-off.
g. Deadline for Requests for Production of Documents and/or Admissions:
The parties propose that Requests for Production of Documents and/or
Admissions must be served no later than 35 days before the discovery cut-off.
10. DATES FOR FURTHER CONFERENCES

A Final Pretrial Conference will be set by Judge Daniel.

11. OTHER SCHEDUL|NG MATTERS

a. identify those discovery or scheduling issues if any, on which counsel

after a good faith effort, were unable to reach an agreement.

 

 

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Plaintiffs: The parties disagree as to the limitations on interrogatories requests
for production of documents and requests for admissions

The parties disagree over whether, when, and to what extent limited expedited
discovery should be permitted in advance of the upcoming hearing on Plaintiffs’
amended motion for preliminary injunction.

Plaintiffs should not be prohibited from seeking information about the subjective
views or thoughts of the Division Director or Commissioners because that information is
relevant to their claims

Plaintiffs do not lose their right to access public records under CORA-a right
available to all citizens in the state--simply because they have filed this lawsuit.

Defendants: The default limitations on interrogatories requests for production,
and requests for admission should be modified so that the limitations are imposed per
side, not per party. There are currently nine defendants and only two plaintiffs The
default “per party” limits would unnecessarily multiply the discovery in and cost of this
case, contrary to Rule 1’s requirement of securing a just, speedy, and inexpensive
determination. Such a result is especially untenable where, as here, the parties agree
that this case primarily involves disputed questions of law.

The parties disagree over whether limited expedited discovery should be
permitted in advance of the upcoming hearing on Plaintiffs’ amended motion for
preliminary injunction, as well as the scope and timing of such discovery. See Discovery
Limitations § 8.d, supra.

Plaintiffs should not be permitted to depose the Attorney General because they

cannot identify any subject or knowledge that is uniquely possessed by this Defendant.

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He is a high ranking government official, not subject to deposition and furthermore any
knowledge the Attorney General does have would be attorney-client privileged and
work-product. Any information sought by Plaintiffs can be obtained through other
means such as a Rule 30(b)(6) deposition of the Division or Commission. See id.

Plaintiffs should not be permitted to inquire into the mental processes or
subjective beliefs of the Division Director or Commissioners See id.

Plaintiffs and persons acting in concert with Plaintiffs should not be permitted to
utilize CORA to circumvent this Court’s discovery limits during the pendency of this
case. See ECF Nos. 46, 85.

b. Anticipated length of trial and whether trial is to the court orjury.

Plaintiffs: Plaintiffs anticipate that trial will take no more than four days and will
be a bench trial.

Defendants: Defendants anticipate that trial will take no more than three days
and will be a bench trial.

c. identify pretrial proceedings if any, that the parties believe may be more
efficiently or economically conducted in the District Court’s facilities at 212 N. Wahsatch
Street, Colorado Springs Co|orado 80903-3476; Wayne Aspinall U.S. Courthouse/
Federal Building, 402 Rood Avenue, Grand Junction, Colorado 81501-2520; or the U.S.
Courthouse/Federal Building, 103 Sheppard Drive, Durango, Colorado 81303-3439.

None.

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12. NOT|CE TO CCUNSEL AND PRO SE PART|ES

The parties H|ing motions for extension of time or continuances must comply with
D.C.COLO.LCivR 6.1(c) by submitting proof that a copy of the motion has been served
upon the moving attorney's client, all attorneys of record, and all pro se parties

Counsel will be expected to be familiar and to comply with the Pretrial and Trial
Procedures or Practice Standards established by the judicial officer presiding over the
trial of this case.

With respect to discovery disputes parties must comply with D.C.COLO.LCivR
7.1(3).

Counsel and unrepresented parties are reminded that any change of contact
information must be reported and Eled with the Court pursuant to the applicable local
rule.

13. AMENDMENTS TO SCHEDUL|NG ORDER
The parties agree that this Scheduling Order may be altered or amended only

upon a showing of good cause.

DATED at Denver, Colorado, this 8th day of January, 201 .

 

 

Liiiitéd States Magistrate Judge
Scott T. Varholak

 

 

APPROVED:

s/ James A. Campbell s/ Grant T. Sullivan

James A. Campbell LeeAnn Morrill

(Arizona Bar No. 026737) Acting Deputy Attorney General

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